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17

18                               UNITED STATES DISTRICT COURT
19                            NORTHERN DISTRICT OF CALIFORNIA
20                                      OAKLAND DIVISION
21
     ELON MUSK, et al.,                                Case No. 4:24-cv-04722-YGR
22
                       Plaintiffs,                     OPENAI DEFENDANTS’ RESPONSE
23                                                     TO STATEMENT OF INTEREST OF
            v.                                         THE UNITED STATES AND FEDERAL
24                                                     TRADE COMMISSION
     SAMUEL ALTMAN, et al.,
25                                                     Date: February 4, 2025
                       Defendants.                     Time: 10:00 a.m.
26                                                     Courtroom: 1 – 4th Floor
                                                       Judge: Hon. Yvonne Gonzalez Rogers
27                                                     Compl. Filed: August 5, 2024
28


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 1                                           INTRODUCTION
 2          On January 10, 2025, the Department of Justice and Federal Trade Commission jointly
 3   submitted a Statement of Interest (Dkt. No. 87, “Statement”) to address: (1) the standard governing
 4   mootness of a claim under Section 8 of the Clayton Act; (2) the circumstances under which a
 5   company violates Section 8; (3) whether board interlocks may violate California state law; and
 6   (4) what sort of agreements qualify as per se group boycotts under the Sherman Act. The Agencies
 7   “take no position on the ultimate disposition of the motion” (Statement at 3) or “any other issue in
 8   this case, including the facts alleged by Plaintiffs” (id. at 2), which, as the OpenAI Defendants have
 9   demonstrated, are inaccurate and fail even to state a claim.
10          The Statement is largely premised on the same case law cited by the OpenAI Defendants in
11   opposing the pending motion, and OpenAI agrees with many of the principles the Agencies seek to
12   clarify. But the Statement mischaracterizes certain of the OpenAI Defendants’ positions, invokes
13   legal principles not applicable here, and appears to confuse the matters in dispute on this motion.
14   I. WHETHER PLAINTIFFS’ SECTION 8 CLAIM LACKS AN ARTICLE III “CASE OR
        CONTROVERSY”
15

16          The Agencies assert that “ending an interlocking directorate, e.g., by having a person resign
17   from a corporate board, is not sufficient, on its own, to moot a claim under Section 8,” Statement
18   at 4 (emphasis in original), and suggest the OpenAI Defendants have advanced a position on this
19   issue contrary to governing precedent, id. Invoking United States v. W.T. Grant Co., 345 U.S. 629
20   (1953), the Agencies emphasize that “voluntary cessation of allegedly illegal conduct [generally]
21   does not . . . make [a] case moot.” Statement at 5 (citations omitted).
22          While this is an accurate statement of the “voluntary cessation” doctrine, that doctrine does
23   not apply here. The doctrine provides that a “defendant cannot automatically moot a case simply
24   by ending its unlawful conduct once sued.” Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013)
25   (emphasis added). In W.T. Grant, where the Supreme Court applied the doctrine to bar assertion of
26   mootness as a defense to a Section 8 claim, the director resigned his position after the government
27   brought suit; there was a live controversy at the action’s inception. See 345 U.S. at 632-34.
28          The facts here are otherwise. Reid Hoffman and Deannah Templeton resigned from their


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 1   respective positions before Plaintiffs asserted (or even threatened) a Section 8 claim. 1 At no time

 2   since inception of this suit has there been any alleged “board interlock.” The case was therefore

 3   “moot” before it was brought—more precisely, Plaintiffs lacked Article III standing to assert the

 4   claim by the time of suit. See Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 109

 5   (1998) (claim non-justiciable where defendant ceased offending conduct before suit); Renne v.

 6   Geary, 501 U.S. 312, 320-21 (1991) (“dispute[] had become moot by the time [plaintiffs] filed suit”

 7   because defendants had ceased the challenged conduct); see also Friends of the Earth, Inc. v.

 8   Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 174, 190-91 (2000) (explaining conceptual

 9   distinction between “initial standing to bring suit” and “postcommencement mootness” but noting

10   that “standing set in a time frame” has often been referred to as “mootness”). 2

11          The Agencies contend that the Ninth Circuit “squarely” addressed “mootness” in this

12   context in TRW, Inc. v. FTC, 647 F.2d 942 (9th Cir. 1981), where the court found the FTC’s Section

13   8 action not “moot[ed]” by the subject director’s pre-suit resignation, see id. at 953-54 (citing W.T.

14   Grant, 345 U.S. at 632); see also Statement at 5. But TRW predates the Supreme Court’s decisions

15   in Renne and Steel Co. and, importantly, involved a government enforcement action rather than

16   private litigation. Cf. Consumer Fin. Prot. Bureau v. Gordon, 819 F.3d 1179, 1187 (9th Cir. 2016)

17   (noting that “the Executive Branch . . . [is] excepted from the generalized grievance prohibition

18   that private parties face under Article III” in establishing standing to bring enforcement actions).

19   The Supreme Court has since made clear that the voluntary cessation doctrine and the related

20   doctrine governing matters “capable of repetition yet evading review” cannot, in a suit brought by

21   a private party, “revive a dispute which became moot before the action commenced.” Renne, 501

22
     1
23    Microsoft had also relinquished any “right to appoint a representative as a non-voting board
     observer of the Board of Directors of OpenAI.” Templeton Decl., Ex. B; see also id ¶ 15.
24   2
       In describing Plaintiffs’ request for an injunction on this claim as “moot” in their Opposition, the
25   OpenAI Defendants intended to convey both that Plaintiffs lacked Article III standing with respect
     to this claim and that no injunctive relief could be issued in light of the absence of a “cognizable
26   danger of recurrent violation,” something not addressed on these facts in the Statement. Opp. at 13-
     14 (quoting TRW, Inc. v. F.T.C., 647 F.2d 942, 954 (9th Cir. 1981)). The Agencies may have
27
     misunderstood the OpenAI Defendants’ reference to “mootness” to suggest that a director’s
28   resignation post-litigation would similarly render a Section 8 claim non-justiciable—an argument
     the OpenAI Defendants are not advancing.
                                                         2
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 1   U.S. at 320; Steel Co., 523 U.S. at 109 (rejecting argument by United States as amicus curiae that

 2   voluntary cessation doctrine revived claim mooted pre-suit, as this would “make[] a sword out of

 3   a shield”); S.F. Baykeeper, Inc. v. Moore, 180 F. Supp. 2d 1116, 1123 (E.D. Cal. 2001) (W.T.

 4   Grant’s holding on mootness does not apply where a plaintiff has failed to “establish standing” at

 5   the time of suit, as “[t]he rule regarding ‘voluntary cessation’” applies only where the defendant

 6   “halts offending conduct in response to litigation” (cleaned up)).

 7          As the Supreme Court has explained, “[p]ast exposure to [allegedly] illegal conduct does

 8   not in itself show a present case or controversy regarding injunctive relief if unaccompanied by any

 9   continuing, present adverse effects.” Renne, 501 U.S. at 320-21 (cleaned up). This concern applies

10   with force in the context of Section 8, which itself imposes a timetable for unwinding board

11   overlaps that does not contemplate liability extending endlessly into the future—Section 8 contains

12   a safe harbor, affording directors whose service becomes unlawful one year to terminate their

13   overlapping service without violating the statute. See 15 U.S.C. § 19(b). Because Plaintiffs have

14   failed to proffer any evidence of continuing “effects” of the purported interlocks (which in any

15   event were lawful when in place), they cannot establish a “present case or controversy” permitting

16   injunctive relief on this claim. See Renne, 501 U.S. at 320-21; Opp. at 13-18. 3

17   II. WHETHER AN “OBSERVER” QUALIFIES AS A SECTION 8 “DIRECTOR”

18          The Statement next contends that a “board ‘observer’ may be a ‘director’ under [Section 8

19   of the Clayton Act] in certain circumstances,” as holding otherwise would “undermine Section 8’s

20   [statutory] intent” and “exalt[] form over substance.” Statement at 7 (citing Square D Co. v.

21   Schneider S.A., 760 F. Supp. 362, 366 (S.D.N.Y. 1991)).

22          To the extent the Agencies mean that a board observer lacking all power to act as a director

23   may nonetheless be covered by Section 8, that interpretation finds no support in the statutory text

24   or in relevant case law. Section 8 proscribes only simultaneous service as a “director or officer” of

25   competing corporations—a person eligible to “act for such corporation[s] in such capacit[ies].” See

26   15 U.S.C. § 19(a)(1), (b). As the OpenAI Defendants explained in their Opposition, see Opp. at 16,

27
     3
28     Plaintiffs also fail to demonstrate antitrust standing (see Opp. at 14)—an element that has no place
     in government enforcement actions and as to which the Agencies offer no view.
                                                          3
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 1   it is a “fundamental canon of statutory construction” that “unless otherwise defined, words will be

 2   interpreted as taking their ordinary, contemporary, common meaning.” LVRC Holdings LLC v.

 3   Brekka, 581 F.3d 1127, 1132-33 (9th Cir. 2009). “When the term ‘director’ is used in reference to

 4   a corporation”—as it is in Section 8—“the term plainly means a person who is a member of the

 5   governing board of the corporation and participates in corporate governance.” In re Kunz, 489 F.3d

 6   1072, 1077-78 (10th Cir. 2007). A limited “observer” with no vote or voice in board decisions is

 7   not a “director,” as courts have uniformly held in other contexts. See Opp. at 16-17. She lacks the

 8   capability to “act for [the] corporation” whose board proceedings she observes. 15 U.S.C. § 19(b).

 9          Square D Co. v. Schneider S.A. does not support a different analysis or result. There, the

10   court held that a plaintiff stated a Section 8 claim where the defendant, a hostile competitor,

11   attempted to install as directors on the plaintiff’s board several of its “agents.” 760 F. Supp. at 364,

12   367. The court held, solely “[f]or purposes of deciding [a] motion to dismiss,” that Section 8 applied

13   because it would “exalt form over substance” to allow the defendant to dominate the plaintiff

14   corporation’s board by populating it with representatives who were not the defendant’s “officers or

15   directors” but delegates taking instruction from the defendant. Id. at 366-67. Crucially, there was

16   no dispute in Square D that the delegates were to be “directors,” in name and in fact, on the

17   plaintiff’s board, id. at 364, and “eligible . . . to act” as such, 15 U.S.C. § 19(a)(1), (b). The whole

18   point of the planned infiltration was for the delegates to vote—as directors—in favor of the

19   defendant’s takeover bid. 760 F. Supp. at 364. Here, by contrast, Plaintiffs do not even allege (much

20   less prove) that Templeton had the power to act as a director or officer of OpenAI or that she was

21   an “agent” of OpenAI. And nothing about Square D suggests that merely “obtain[ing] entry to a

22   meeting” of the OpenAI board as an observer satisfies the statutory test. Statement at 7.

23   III. ENFORCEMENT OF SECTION 8 UNDER CALIFORNIA LAW

24          The Agencies opine that “the Court may consider” whether the alleged board interlocks in

25   this case amount to an “unfair method of competition” that “is contrary to Section 5 of the FTC

26   Act,” and therefore illegal under California’s UCL by analogy. See Statement at 7-9.

27          This opinion has no bearing on Plaintiffs’ motion, which does not seek relief based on their

28   UCL claim. (See Dkt. No. 46). The OpenAI Defendants dispute the Agencies’ suggestion that a

                                                        4
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 1   private plaintiff may use the UCL to challenge purported interlocks among third-party corporations

 2   under these circumstances (see, e.g., Archer v. United Rentals, Inc., 195 Cal. App. 4th 807, 815

 3   (2011) (to establish standing under the UCL, plaintiffs must demonstrate that they “lost money or

 4   property” due to alleged misconduct))—a point that the incoming FTC Chair likewise appears to

 5   dispute. 4 But that dispute, and the Agencies’ exposition on this matter, are irrelevant to the motion.

 6   IV. REQUIREMENT OF AN “AGREEMENT” FOR A SECTION 1 BOYCOTT CLAIM

 7          Finally, in summarizing the law of group boycotts under the Sherman Act, the Agencies say

 8   that “[t]he litigants disagree about whether the alleged fund-no-competitors edict is horizontal or

 9   vertical,” but the “distinction does not preclude application of Section 1,” as “per se liability under

10   Section 1 can attach so long as there is [] a horizontal element to the alleged conspiracy.” Statement

11   at 10-11. The OpenAI Defendants do not dispute this; a per se unlawful group boycott can include

12   a vertical element, so long as it also has a horizontal “rim.” See Opp. at 10 (explaining that an

13   alleged hub-and-spoke boycott would need both the “spokes,” i.e., vertical agreements between

14   OpenAI and investors, and a “rim,” i.e., a horizontal agreement among the investors, to qualify for

15   per se treatment). The point in dispute (and the one that matters) is different: Musk and xAI offer

16   no evidence of any agreement—horizontal or “hub-and-spoke,” written or oral, “formal” or “tacit”

17   (Statement at 10-11 & n.6)—to boycott investment in xAI. Opp. at 9-11.

18                                             CONCLUSION

19          Notwithstanding their misunderstanding of OpenAI’s position and some of the relevant

20   facts, the Agencies express no view on the merits of Plaintiffs’ motion. Nothing in the Statement

21   suggests Plaintiffs are entitled to the injunctive relief they seek on claims for which they have not

22   even adequately pleaded a claim. The Court should deny Plaintiffs’ motion in its entirety.

23
     4
24     In a concurrence dated two days before the Statement itself and styled as “Regarding the Statement
     of Interest Supporting Elon Musk,” FTC Commissioner and Chair-Designate Andrew N. Ferguson,
25   joined by Commissioner Melissa Holyoak, announced that he would not “have included the
     [Agencies’] argument regarding Section 5 of the Federal Trade Commission Act” in the Statement,
26   in part because it does not “necessarily correctly describe the law.” See Concurring Statement of
     Commissioner Andrew N. Ferguson Joined by Commissioner Melissa Holyoak Regarding the
27
     Statement of Interest Supporting Elon Musk, Musk v. Altman, 4:24-cv-04722-YGR (N.D. Cal.),
28   Federal Trade Commission (Jan. 8, 2025), https://www.ftc.gov/system/files/ftc_gov/pdf/musk-
     statement-of-interest-ferguson-holyoak-concurrence.pdf.
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22                                                   Company, LLC, and Aestas LLC
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